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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

In Re: The Seizure of Various Electronics )          MISC. NO.      3:24-mc-00839-CMC
                                          )

        MOTION TO EXTEND TIME TO FILE JUDICIAL FORFEITURE ACTION

        Pursuant to 18 U.S.C. ' 983(a)(3)(A), 1 the United States moves for an order

extending the time in which the United States is required to file a judicial forfeiture action

seeking forfeiture of various electronics identified as One Lenovo Laptop, One Amazon

Tablet, Four Cell Phones, Four Hard Drives, Four SD Cards, Two DVD-Rs and Nineteen

Thumb Drives (the “Subject Properties@), which were previously seized by agents of the

Homeland Security Investigations on August 5, 2024. The government seeks to extend

the current filing deadline by 90 days, based upon the pendency of the related criminal

investigation. The current deadline for filing a judicial forfeiture action is December 5,

2024. The proposed new deadline is March 5, 2025. Absent an extension, the United

States will file a civil complaint for forfeiture in rem, which would be duplicative of

anticipated criminal forfeiture proceedings, as referenced below.

       In support of the motion, the United States would show the following:



1 18 U.S.C. ' 983(a)(3)(A), provides:


       Not later than 90 days after a claim has been filed, the Government shall file
       a complaint for forfeiture in the manner set forth in the Supplemental Rules
       for Admiralty and Maritime Claims or return the property pending the filing of
       a complaint, except that a court in the district in which the complaint will be
       filed may extend the period for filing a complaint for good cause
       shown or upon agreement of the parties.

(Emphasis added.)

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       1.     Pursuant to 18 U.S.C. ' 983(a)(1)(A), the government provided the known
              potential claimant with written notice of the government’s intention to
              administratively forfeit the Subject Properties. On September 6, 2024,
              Robert John May, III filed an administrative claim contesting forfeiture.

       2.     The Subject Properties are associated with a pending criminal investigation
              in this district being supervised by AUSA Scott Matthews. The undersigned
              has confirmed with AUSA Matthews, who anticipates the filing of a criminal
              Indictment within three months, and who advises that the Indictment will
              include provisions providing for the forfeiture of the Subject Properties
              pursuant to Rule 32.2, Fed.R.Crim.P. and 21 U.S.C. ' 853. Such criminal
              forfeiture proceedings would likely make the filing of parallel civil forfeiture
              proceedings duplicative and unnecessary.

       3.     Robert John May, III has retained attorney Dayne Phillips of Columbia,
              South Carolina to represent him in this matter.

       4.     Attorney Phillips and his client, Robert John May, III, join, agree, and
              consent to the motion to extend the time to file a judicial forfeiture action.

       5.     The United States submits that avoiding multiple judicial forfeiture actions
              related to the same property constitutes “good cause” for an extension of
              the judicial filing deadline under18 U.S.C. ' 983(a)(3)(A).

       WHEREFORE, based upon the United States= motion to extend the filing date, the

government respectfully requests that the Court extend the period in which the United

States is required to file a judicial forfeiture action against the Subject Properties until

March 5, 2025.

                                           Respectfully Submitted,

                                           ADAIR F. BOROUGHS
                                           UNITED STATES ATTORNEY

                                    By:    s/ Carrie Fisher Sherard
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